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UNITED sTA TES DISTRICT CoURT 0 P " *3-0.
WESTERNDISTRICT OF TENNESSEE USJUH I!i PH 2_. w
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.IAMES A. CLARK, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
J. KENENS, et al., CASE NO: 03-2977-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal With
Prejudice entered on June 13, 2005, this cause is hereby dismissed with prej udice.

ROVED :

ANIEL BREEN
TED STATES DIS'I`RICT COURT

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Date Clerk of Court
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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:03-CV-02977 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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J ames A. Clark
203 Cottonwood St.
Wynne, AR 72396

Honorable J. Breen
US DISTRICT COURT

